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                     IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)

IN RE:
DARRYL J THOMAS, SR AND KESIA M                          Case No. 23-12694-amc
THOMAS
       Debtors
                                                         Chapter 13
PHH Mortgage Corporation,
        Movant

vs.
DARRYL J THOMAS, SR AND KESIA M
THOMAS                                                   11 U.S.C. §362
    Respondents

     MOTION FOR RELIEF FROM AUTOMATIC STAY UNDER §362 PURSUANT TO
                   BANKRUPTCY PROCEDURE RULE 4001

        Movant, by its attorneys, Brock and Scott PLLC, hereby requests a termination of Automatic

Stay and leave to proceed with its state court rights on its mortgage on real property owned by

DARRYL J THOMAS, SR and KESIA M THOMAS (the “Debtors”).

        1.       Movant is PHH Mortgage Corporation.

        2.       Debtors, DARRYL J THOMAS, SR and KESIA M THOMAS, are the owners of the

premises located at 204 West 23rd Street, Chester, Pennsylvania 19013 hereinafter known as the

mortgaged premises.

        3.       Movant is the holder of a mortgage on the mortgaged premises.

        4.       Debtors' failure to tender monthly payments in a manner consistent with the terms of

the Mortgage and Note result in a lack of adequate protection.

        5.       Movant instituted foreclosure proceedings on the mortgage because of Debtors' failure

to make the monthly payment required hereunder.

        6.       The foreclosure proceedings instituted were stayed by the filing of the instant Chapter

13 Petition.

        7.       The following chart sets forth the number and amount of post-petition payments due
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pursuant to the terms of the Note that have been missed as of January 1, 2024:

 Number of             From                   To               Monthly           Total Amounts
  Missed                                                       Payment            Delinquent
 Payments                                                      Amount
    3             October 1, 2023        December 1,           $1,709.29        $5,127.87
                                            2023
                                             Less partial payments (suspense balance): ($0.00)
                                                                                   Total: $5,127.87


       8.      A post-petition payment history is attached hereto as Exhibit A.

       9.      The next payment is due on or before January 1, 2024 in the amount of $1,709.29.

Under the terms of the Note and Mortgage, Debtors have a continuing obligation to remain current

post-petition and failure to do so results in a lack of adequate protection to Movant.

       10.     Upon information and belief, the payoff amount as of January 1, 2024 is $192,370.09.

       11.     Movant, PHH Mortgage Corporation requests the Court award reimbursement in the

amount of $1,249.00 for the legal fees and costs associated with this Motion.

       12.     Movant has cause to have the Automatic Stay terminated as to permit Movant to

proceed with its state court rights pursuant to the mortgage contract.

       13.     Movant specifically requests permission from the Honorable Court to communicate

with and Debtors and Debtors' counsel to the extent necessary to comply with applicable

nonbankruptcy law.

       14.     Movant, it's successors and assignees posits that due to Debtors' continuing failure to

tender post-petition mortgage payments and the resulting and ever increasing lack of adequate

protection that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(3), and that

Movant, its successors or assignees should be allowed to immediately enforce and implement the

Order granting relief from the automatic stay.

       15.     Movant requests that if relief is granted that Federal Rule of Bankruptcy Procedure

3002.1 be waived.
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       WHEREFORE, Movant respectfully requests that this Court enter an Order;

       a.        Modifying the Automatic Stay under Section 362 with respect to 204 West 23rd Street,

Chester, Pennsylvania 19013 (as more fully set forth in the legal description attached to the Mortgage

of record granted against the Premises), as to allow Movant, its successors and assignees, to proceed

with its rights under the terms of said Mortgage; and


       b.        Movant specifically requests permission from this Honorable Court to communicate

with Debtors and Debtors' counsel to the extent necessary to comply with applicable nonbankruptcy

law; and

       c.        That the Trustee cease making any further distributions to the Creditor; and

       d.        Holding that due to Debtors' continuing failure to tender post-petition mortgage

payments and the resulting and ever-increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and

       e.        Awarding Movant attorney fees and costs related to this Motion in the amount of

$1,249.00; and
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       f.      Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

       g.      Granting any other relief that this Court deems equitable and just.



This is the 5th day of January, 2024.


                                              /s/Andrew Spivack
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